                Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 1 of 7
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                                                                                                                    Diane Trautman
                                        Harris County - County Civil Court at Law No.4                                 County Clerk
                                                                                                                      Harris County

                                                            1128590
                                           CAUSE NO.


          MONA YOUNES,O.D.,                                  §    IN THE COUNTY CIVIL COURT
                                                             §
          Plaintiffs                                         §
                                                             §
          VS.                                                §    AT LAW NO.
                                                             §
          SENTINEL INSURANCE COMPANY,                        §
          LTD.,                                              §

          Defendant                                          §    HARRIS COUNTY,TEXAS


                                    PLAINTIFF'S ORIGINAL PETITION AND
                                 REQUEST FOR DISCLOSURE TO DEFENDANT


          TO THE HONORABLE JUDGE OF SAID COURT:


                   Plaintiff MONA YOUNES, O.D. complains of Defendant SENTINEL INSURANCE

          COMPANY,LTD., and in support would show this Court the following:

                                                          LEVEL


          1.       Plaintiffintends to conduct discovery under Level 1 ofRule 190.3 oftheTexas Rules ofCivil

          Procedure.


                                                          RELIEF


          2.       Plaintiff seeks only monetary relief not to exceed $100,000. Tex. R. Civ. P.47(c)(1).

                                                         PARTIES


          3.       Plaintiff is a resident of Harris County, Texas.

          4.       Defendant Sentinel Insurance Company,Ltd. is an insurance company organized under the

          laws of the State of Connecticut and authorized to do business in the State of Texas, and may be

          served with process by serving its registered agent,CT Corporation System,1999 Bryan Street, Suite

          900, Dallas, Texas 75201.




[      Confidential information may have been redacted from the document in compliance with the Public Information Act.          ]


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Diane Trautman, County Clerk
Harris County,Texas
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               Courtney Summerlin
                Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 2 of 7




                                                          VENUE


          4.       Venue is proper in Harris County pursuant to §§ 15.002(a)(1) and 15.032 of the Texas Civil

          Practice and Remedies Code.


                                                          FACTS


          5.       This lawsuit results from an insurance claim arising from water damage to tlie dental office of

          PlaintiffMona Younes,D.O.("Plaintiff or *Y"ounes"),located at 1540 South Mason Road,Suite C,

          Katy, Texas 77450, on or about March 4,2017 (the "Claim"). Plaintiff promptly filed the Claim

          with her property insurer, Defendant Sentinel Insurance Company, Ltd.("Defendant") to recover

          damages for repairs to her property and loss of business income.

          6.       Plaintiffs office was interrupted for 25 consecutive business days as a result ofthe damage

          and the repairs.

          7.       Defendant has failed and refused to compensate Yoimes for the resulting loss of business

          income.


          8.       Thus,Plaintiff has been forced to file this lawsuit.

                                               BREACH OF CONTRACT


          9.       Prior to the events in question, Defendant issued a policy of insurance which provided

          Plaintiff with coverage for physical damage,including loss of business income.

          10.      Plaintiff submitted tlie Claim in compliance with the terms of Defendant's policy. Plaintiff

          has complied with all necessary terms and conditions of the insuring agreement.

          11.      Defendant has failed and refused to pay Plaintiffs damages.

                             BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING


          12.      Defendant owed a duty of good faith and fair dealing to Plaintiff.

          13.      Defendant breached its duty ofgood faith and fair dealing to Younes by failing and refusing




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Harris County, Texas                                                                                    ^



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            Courtney Summerlin
                Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 3 of 7




          to settle the Claim in a prompt, fair, and equitable manner.

          14.      Defendant's actions have caused Plaintiff to incur damages in an amount within the

          jurisdictional limits ofthis Court.

          15.      In addition to actual damages incurred, Plaintiff seeks exemplary damages of up to four(4)

          times the amount of her actual damages, to deter Defendant, and other insurance companies,

          similarly situated, from acting in such a malicious, wanton, and reckless manner.

                                        NEGLIGENT MISREPRESENTATION


          16.      In connection with the Claim, Defendant, by and through its claim representative(s),

          including Robert Lopez, provided instructions relating to the commencement of the repairs and

          business closure ofPlaintiffs office during the repairs. Due to Defendant's delays in approval and

          issuance ofthe payment for the repairs. Plaintiffs office was closed for twenty-five(25)consecutive

          business days,from April 17,2017 to May 22,2017. Based on average production prior to the clai

          which forms the basis of this lawsuit. Plaintiffs resulting loss of business income amounts to

          approximately $55,000.

                                                        DAMAGES


          17.      As a result ofDefendant's wrongful actions,Plaintiffsustained damages in an amount witliin

          the jurisdictional limits of this Court.

          18.      In order to protect Plaintiffs rights, it has become necessary to employ the undersigned

          attorneys. Plaintiff would show that Defendant is liable for the reasonable attorney's fees incurred

          pursuant to Section 38.001 ofthe Texas Civil Practice and Remedies Code,plus additional attorney's

          fees in the event of an appeal or Writ of Error.

                                                         PRAYER


                   PlaintiffMona Younes,O.D. prays that Defendant Sentinel Insurance Company,Ltd. appear




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Diane Trautman, County Clerk
Harris County, Texas                                                                              st



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             Courtney Summerlin
              Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 4 of 7




          herein, and that upon final ti'ial Plaintiff be awarded a judgment against Defendant for actual

          damages, attorney's fees, and exemplary damages, as well as costs of court and prejudgment and

          post-judgment interest at the highest lawful rate, and such other and further relief, both general and

          special, to which Plaintiff may show herself entitled.

                                              REQUEST FOR DISCLOSURE


                   Under Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

          Sentinel Insurance Company, Ltd. disclose, within fifty (50) days of service, the information and

          materials described in Rule 194.2.


                                                          Respectfully submitted,

                                                          THE LAW OFFICE OF NHAN NGUYEN



                                                                  /s/ Nhan Nsuven
                                                          Nhan Nguyen
                                                          Texas Bar No. 24041589
                                                          2500 West Loop South, Suite 340
                                                          Houston,Texas 77027
                                                          Telephone: 713/840-7200
                                                          Telecopier: 713/583-4155
                                                          Email: Nhan@healthlawservices.com

                                                          ATTORNEYS FOR PLAINTIFF




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              Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 5 of 7
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                                        Harris County - County Civil Court at Law No.4
                                                                                                                    Harris County


                                                   CAUSE NO. 1128590


          MONAYOUNES, O.D.                                     §
          PLAINTIFF                                            §
                                                               §
          VS.                                                  §           IN THE County Civil Court at Law No.4
          SENTINEL INSUFIANCE COMPANY. LTD. |                                              HARRIS COUNTY,TX
          DEFENDANT                                            ?




                                                   RETURN OF SERVICE


          ON Friday, April 26, 2019 AT 10:29 AM
          CITATION, PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE TO DEFENDANT for
          service on SENTINEL INSURANCE COMPANY, LTD. C/0 CT CORPORATION SYSTEM came to hand.

          ON Friday, April 26, 2019 AT 3:15 PM,I, Carol Tharp, PERSONALLY DELIVERED THE ABOVE-
          NAMED DOCUMENTS TO: SENTINEL INSURANCE COMPANY, LTD. C/O CT CORPORATION SYSTEM,
          by delivering to Beatrice Casarze, Manager, 1999 Bryan Street, STE 900, DALLAS, DALLAS COUNTY,
          TX 75201.

          My name Is Carol Tharp. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
          USA. I am a private process server certified by the Texas Judicial Branch Certification Commission
          (PSC 1222, expires 4/30/2020). My date of birth is 7/24/1946. I am in all ways competent to make
          this statement, and this statement is based on personal knowledge. I am not a party to this case and
          have no interest in its outcome. I declare under penalty of perjury that the foregoing is true and
          correct.


          Executed in DALLAS COUNTY, TX on Friday, April 26, 2019 AT 3:15 PM.

          IS/ Carol Tharp




          1128590


           DocID: 262080 1




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              Case 4:19-cv-01796 Document 1-4 Filed on 05/17/19 in TXSD Page 6 of 7
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                                        Harris County - County Civil Court at Law No.4                            °'^Cou^^"ciSk
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                                                  CAUSE NO.1128590


           MONA YOUNEZ,O.D.,                                 §           IN THE COUNTY CIVIL COURT
                                                             §
           Plaintiff,                                        §
                                                             §
           VS.                                               §                                 AT LAW NO.4
                                                             §
           SENTINEL INSURANCE COMPANY,                       §
           LTD.,                                             §
                                                             §
           Defendant                                         §                   HARRIS COUNTY,TEXAS

          NOTICE OF DESIGNATION OF EMAIL ADDRESS FOR SERVICE OF DOCUMENTS"

                   Pursuant to Tex. R. Civ. P. 21(f)(2) & 21a, the undersigned counsel gives notice of the

          following designated email address for all e-served documents and notices, filed and unfiled. This is

          the imdersigned's only e-Service email address, and service through any other email address will be

          considered invalid.


                                      E-service Email: eservice@westlooplaw.com

                                                          Respectfully submitted,

                                                          THE LAW OFFICE OF NHAN NGUYEN

                                                          /s/Nhan Neuven
                                                          Nhan Nguyen
                                                          Texas Bar No. 24041589
                                                          2500 West Loop South, Suite 340
                                                          Houston, Texas 77027
                                                          Telephone: 713/840-7200
                                                          Telecopier: 713/583-4155
                                                          General Correspondence Email:
                                                          Nhan@healthlawservices.com
                                                          *E-Service Email: eservice@westIoot)law.com
                                                          *E-Service is only accepted at the above
                                                          designated
                                                          e-Service email address
                                                          ATTORNEY FOR PLAINTIFF




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                                                 OFFICE OF DIANE TRAUTMAN
                                                COUNTY CLERK, HARRIS COUNTY,TEXAS
          CLT.VK
                                                    COUNTY CIVIL COURTS DEPARTMENT

                                                            Docket Number: 1128590
                                            Receipt Number:        Date: Sheriff/Constable Fee:$

    MONAYOUNES O.D.
    Plaintiff                                                                 In The County Civil Court at Law No.4
    VS.                                                                       201 Caroline #540
    SENTINEL INSURANCE COMPANY,LTD.                                           Houston,Tx 77002
    Defendant

                                                            THE STATE OF TEXAS
                                            ORIGINAL PETITION DISCLOSURE CITATION

    To:       SENTINEL INSURANCE COMPANY LTD is a company and may be served by serving its registered agent, CT
              CORPORATION SYSTEM, 1999 BRYAN STREET,SUITE 900, DALLAS,TEXAS 75201

    Attached is a copy of petition.
    This instrument was filed on the 25th day of February,2019,in the above cited cause number and court. The instrument
    attached describes the claim against you.

    You have been sued. You may employ an attomey. If you or your attorney do not file a written answer with the county
    clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
    served this citation and petition, a defaultjudgment may be taken against you.

    Issued and given under my hand and the seal of said court, at Houston, Texas, on this 25th day of April,2019

    (Seal)                                                            Diane Trautman, County Clerk
                                                                      County Civil Court at Law No.4
                                                                      201 Caroline, Suite 300
                                                                      Harris County, Texas




                                                                      Jon Shelton
                                                         Deputy County Clerk
    Requested                NHAN HUYNH NGUYEN
    By:                      2500 WEST LOOP SOUTH STE 340
                             HOUSTON TX 77027




                                                     P.O. Box 1525• Houston,TX 77251-1525•(713)274-1374

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